     Case 16-20960            Doc 83       Filed 06/22/17 Entered 06/22/17 11:50:45           Desc Order 2004
                                                    exam Page 1 of 1
                             United States Bankruptcy Court
                                       District of Connecticut
                                                                                             Filed and Entered
                                                                                                 On Docket
                                                                                               June 22, 2017


In re:
         Walnut Hill, Inc.                                                             Case Number: 16−20960 jjt
                                               Debtor*                                 Chapter: 7




                                 ORDER AUTHORIZING RULE 2004 EXAMINATION



            Upon consideration of the Motion seeking an order authorizing a Federal Rule of Bankruptcy Procedure
2004 examination of Aryeh Platschek, (the "Motion", ECF No. 79), filed by The Trustee (the "Movant"), after notice
and a hearing, see 11 U.S.C. § 102(1), and in compliance with the Court's Contested Matter Procedure, it appearing
that cause exists to grant the requested relief as conditioned hereafter; it is hereby

            ORDERED: The Movant may examine Aryeh Platschek pursuant to Fed. R. Bankr. P. 2004(a) and
within the scope of Fed. R. Bankr. P. 2004(b); and it is further

           ORDERED: The attendance of any witness(es) and the production of documents shall be by agreement
or compelled in the manner provided in Fed. R. Bankr P. 9016, see also Fed R. Bankr. P. 2004(c); and it is further

             ORDERED: The examination shall not occur until a date that is at least fourteen (14) days after the
service of a Fed. R. Bankr. P. 2004 subpoena, unless otherwise agreed upon by the parties .



Dated: June 22, 2017                                                                 BY THE COURT




United States Bankruptcy Court                                                 Tel. (860) 240−3675
District of Connecticut                                                        VCIS* (866) 222−8029
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                                                                               Form 117 − kv
*For the purposes of this order, "Debtor" means "Debtors" where applicable.
